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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION

                             CASE NO. 22-CV-81294-CANNON

  DONALD J. TRUMP,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.
  ________________________________/

                                    NOTICE OF APPEAL

         Notice is hereby given that the United States of America, Defendant in the above-

  captioned matter, appeals to the United States Court of Appeals for the Eleventh Circuit from

  the order of the district court entered on September 5, 2022, Docket Entry 64.
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  Date: September 8, 2022                 Respectfully submitted,

                                          _/s Juan Antonio Gonzalez_____
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 8, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices of

  Electronic Filing generated by CM/ECF.



                                           s/Juan Antonio Gonzalez
                                           Juan Antonio Gonzalez
                                           United States Attorney
